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COUNSEL TO DEBTORS
REAGOR-DYKES MOTORS, LP et al.

                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                    LUBBOCK DIVISION

    IN RE:                                                        §
                                                                  §
    REAGOR-DYKES MOTORS, LP, et al.1                              § Case No. 18-50214-rlj-11
                                                                  § Jointly Administered
                                       Debtor.                    §

            NOTICE OF INSTRUCTIONS FOR TELEPHONIC APPERANCES
                   AT HEARINGS SET FOR DECEMBER 12, 2018

        PLEASE TAKE NOTICE, that Marcus Helt and/or Ashley Ellis of Foley Gardere Foley &

Larnder, LLP, counsel for Reagor-Dykes Motors, LP; Reagor-Dykes Imports, LP; Reagor-Dykes

Amarillo, LP; Reagor-Dykes Auto Company, LP; Reagor-Dykes Plainview, LP;                         Reagor-Dykes

Floydada, LP (collectively, “Reagor-Dykes” or the “Debtors”), will be appearing telephonically for

the purpose of announcements only at the hearing set for December 12, 2018 at 1:30 p.m.

        All parties in interest may also appear telephonically to make announcements only. If any

parties in interest are only making announcements and wish to appear telephonically at the hearing,




1
  The Debtors are Reagor-Dykes Imports, LP (Case No. 18-50215), Reagor-Dykes Amarillo (Case No. 18-50216), Reagor-
Dykes Auto Company, LP (Case No. 18-50217), Reagor-Dykes Plainview, LP (Case No. 18-50218), Reagor-Dykes
Floydada, LP (Case No. 18-50219), Reagor-Dykes III LLC, Reagor-Dykes Snyder, L.P. (Case No. 18-50321), (Case No.
18-50322), Reagor-Dykes II LLC (Case No. 18-50323), Reagor Auto Mall Ltd (Case No. 18-50324) and Reagor Auto Mall
I LLC (Case No. 18-50325).

NOTICE OF TELEPHONIC APPEARANCE                                                                            Page 1
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please call 888-363-4749, Access Code: 8681265, Security Code: 2255.         Again, the telephonic

appearance is only being offered for the purposes of announcements – anything else will require a

personal appearance at the hearing on December 12, 2018 at 1:30 p.m.

DATED: December 11, 2018                      Respectfully submitted,

                                              By: /s/ Marcus A. Helt
                                                     Marcus A. Helt (TX 24052187)
                                                     C. Ashley Ellis (TX 00794824)

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                                              COUNSEL TO DEBTORS REAGOR-DYKES
                                              MOTORS, LP et al.



                                 CERTIFICATE OF SERVICE

         I hereby certify that, on December 11, 2018, a true and correct copy of the foregoing
document was served on all parties consenting to electronic service of this case via the Court’s ECF
system for the Northern District of Texas.


                                              /s/ Marcus A. Helt
                                                Marcus A. Helt




Notice of telephonic appearance                                                             Page 2
